                 Case 4:10-cr-00192-DPM                       Document 113           Filed 10/22/15           Page 1 of 6
A0245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 1



                                      UNITED STATES DISTRICT COURT                                                        OCT 21. 2015
                                                          Eastern District of Arkansas

         UNITED STATES OF AMERICA                                         Judgment in a Criminal Case
                             v.                                           (For Revocation of Probation or Supervised Release)
                    Tommy Jordan

                                                                          Case No. 4:10-cr-192-DPM-02
                                                                          USM No. 26066-009
                                                                           Chris Tarver
                                                                                                  Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           _1_--_2_,4_,_6_-_-7_ _ _ _ _ _ _ of the term of supervision.
~ was found in violation of condition(s)              _3_ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number                                           Nature of Violation                                    Violation Ended
1 (Gen) & 2 (Std. 7)              Using a controlled substance, a Grade C Violation                            05/07/2015

3 (Std 2)                         Failing to report to the probation officer, a Grade C Violation              05/27/2015

4 (Std 9)                         Associating with a convicted felon, a Grade C Violation                      02/12/2015

                                  (continued on next page)

       The defendant is sentenced as provided in pages 2 through _ _6 __ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address untn all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 7025                       10/20/2015
                                                                                             Date of Imposition of Judgment
Defendant's Year of Birth:           1959

City and State of Defendant's Residence:                                                            Sfgil;ture of Judge
Little Rock, AR
                                                                           D.P. Marshall Jr.                              U.S. District Judge
                                                                                                 Name and Title of Judge


                                                                                                           Date
                Case 4:10-cr-00192-DPM                        Document 113   Filed 10/22/15       Page 2 of 6
AO 245D    (Rev. 09/11) Judgment in a Criminal Case for Revocations
           Sheet IA
                                                                                            Judgment-Page   _....,2_ of     6
DEFENDANT: Tommy Jordan
CASE NUMBER: 4:1 O-cr-192-DPM-02

                                                      ADDITIONAL VIOLATIONS

                                                                                                                   Violation
Violation Number               Nature of Violation                                                                 Concluded
6 (Spec 16)                    Taking out a loan without permission and failing to disclose financial

                               information to the probation officer upon request, a Grade C Violation              05/07/2015

7 (Spec)                       Failing to pay restitution, a Grade C Violation                                     04/30/2015
                   Case 4:10-cr-00192-DPM                       Document 113      Filed 10/22/15       Page 3 of 6
  AO 245D    (Rev. 09/l l) Judgment in a Criminal Case for Revocations
             Sheet 2- Imprisonment
                                                                                              Judgment- Page _...,3_ of           6
  DEFENDANT: Tommy Jordan
  CASE NUMBER: 4:10-cr-192-DPM-02


                                                                  IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
5 months with credit for time already served in Federal custody.




     'if The court makes the following recommendations to the Bureau of Prisons:
1} that Jordan serve the remainder of his sentence in the Grant County Jail or another local jail, as designated by the Bureau
of Prisons.


     'if The defendant is remanded to the custody of the United States Marshal.
     D The defendant shall surrender to the United States Marshal for this district:
         D    at    - - - - - - - - - D a.m.                       D p.m.    on
         D    as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         D    before 2 p.m. on
         D    as notified by the United States Marshal.
         D    as notified by the Probation or Pretrial Services Office.

                                                                         RETURN

  I have executed this judgment as follows:




         Defendant delivered on                                                     to

  at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                          UNITED STATES MARSHAL



                                                                            By - - - - - - - -UNITED
                                                                                       DEPUTY  - - -STATES
                                                                                                     - - -MARSHAL
                                                                                                           --------
                   Case 4:10-cr-00192-DPM                       Document 113       Filed 10/22/15          Page 4 of 6
  AO 245D     (Rev. 09/11) Judgment in a Criminal Case for Revocations
              Sheet 3 - Supervised Release
                                                                                                     Judgment-Page      4   of          6
  DEFENDANT: Tommy Jordan
  CASE NUMBER: 4: 1O-cr-192-DPM-02
                                                             SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of :
None.



           The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody of the Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from anx unlawful use of a controlled
  substance. The defendant shall submit to one drug test within 15 days ofrelease from imprisonment ana at least two periodic drug
  tests thereafter as determined by the court.
  D     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
  D     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
  D     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
  D     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
  D     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this judwent imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
  conditions on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION

  1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
            officer;
  4)        the defendant shall support his or her dependents and meet other family responsibilities;
  5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
            or other acceptable reasons;
  6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
            convicted of a felony, unless granted permission to do so by the probation officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
            confiscation of any contraband observed in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
            enforcement officer;
  12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
            without the permission of the court; and
  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
            defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
            notifications and to confirm the defendant's compliance with such notification requirement.
  AO 245D
                 Case 4:10-cr-00192-DPM                        Document 113
             (Rev. 09/11) Judgment in a Criminal Case for Revocations
                                                                                            Filed 10/22/15          Page 5 of 6
             Sheet 5 - Criminal Monetary Penalties
                                                                                                           Judgment- Page __5__      of      6
  DEFENDANT: Tommy Jordan
  CASE NUMBER: 4:10-cr-192-DPM-02
                                CRIMINAL MONETARY PENALTIES

       The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth on Sheet 6.


                       Assessment                                               Fine                               Restitution
  TOTALS         $ 0.00                                                        $ 0.00                         $ 35,500.78


  D    The determination ofrestitution is deferred until
       entered after such determination.
                                                               ---. An Amended Judgment in a Criminal Case (AO 245C) will be
  D    The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

       Ifthe defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
       in the priority order or percentage paY.J!lent column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must
      be paid before the United States is paid.

  Name of Payee                                       Total Loss*                         Restitution Ordered               Priority or Percentage
Jordan shall continue making                                                                          $35,500.78

restitution payments to the payees

and in the amounts listed in the

original Judgment, No. 55 at 5, with

credit for payments already made.




                                                    0.00                                               35,500.78
  TOTALS                                   $
                                            ----------   $


  D    Restitution amount ordered pursuant to plea agreement $

  D    The defendant must pay interest on restitution or a fine more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgll!ent, pursuant to 18 U.S.C. ~ 3612(£). All of the payment options on Sheet 6 may be
       subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).


       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       rt/ the interest requirement is waived for the           D       fine       rt/ restitution.
       D the interest requirement for the           D fine              D restitution is modified as follows:


  *Findings for the total amount oflosses are required under Chapters 109A, 110, l IOA, and l 13A of Title 18 for offenses committed on
  or after September 13, 1994, but before April 23, 1996.
                 Case 4:10-cr-00192-DPM                         Document 113            Filed 10/22/15       Page 6 of 6
AO 245D     (Rev. 09/11) Judgment in a Criminal Case for Revocations
            Sheet 6- Schedule of Payments
                                                                                                                        6_ of
                                                                                                       Judgment- Page _ _                 6
DEFENDANT: Tommy Jordan
CASE NUMBER: 4:10-cr-192-DPM-02

                                                         SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    ~     Lump sum payment of$ _o.;;.;·..;.o.;;..o_ _ _ __            due immediately, balance due

           D   not later than                                             , or
           ~ in accordance with          D    C,     D     D,     D E,or         rjF below); or

B    D    Payment to begin immediately (may be combined with                     D C,      DD, or     D F below); or

C    D    Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                       (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D    D    Payment in equal                  (e.g., weekly, monthly, quarterly) installments of$                     over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    D    Payment during the term of supervised release will commence within                (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay.
F    ~ Special instructions regarding the payment of criminal monetary penalties:

       During incarceration, Jordan shall pay 50% per month of all funds available to him. After his release, Jordan shall
       pay 10% of his gross monthly income. Jordan shall make payments until his remaining $35,500.78 restitution
       obligation is paid in full.



Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes imprisonment, payment of
criminal monetary penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments made
through the Federal Bureau of Prisons' Iiimate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount and
     corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:



PaYJ!lents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
